   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 1 of 19 PageID #:169




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                   No. 21 CR 512
       v.
                                                   Hon. Harry D. Leinenweber
 DENISE GREVAS

              GOVERNMENT’S SENTENCING MEMORANDUM

      The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, respectfully submits its

sentencing memorandum.        To account for the seriousness of Denise Grevas’s

(“defendant”) conduct and for the other reasons set forth below, the government

recommends that the Court sentence defendant to a term of one year and one day

imprisonment.

      To be clear, the government disagrees with defendant’s contention that this is

an “atypical” insider trading case. This case carries the same hallmarks of all insider

trading cases: defendant misappropriated material nonpublic information to

personally profit. It is a crime driven by greed. Still, there are mitigating facts—

namely, defendant’s age, lack of criminal history, and the fact that she repaid the ill

begotten profits prior to sentencing—that, when viewed together, warrant a below-

guidelines sentence in this case. But, a custodial sentence is still appropriate and

warranted given the nature and circumstances of the offense, the need to promote

respect for the law, and the need for deterrence. To account for all these factors, a

sentence of one year and one day imprisonment is sufficient, but not greater than
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 2 of 19 PageID #:170




necessary, to satisfy the principles set forth in the Sentencing Guidelines and 18

U.S.C. § 3553(a).

                                 BACKGROUND

      On August 19, 2019, defendant’s husband—the director of compensation,

benefits and human resource operations of Company A—told defendant that he was

going to be busy at work given his assignment to a due diligence project concerning

an acquisition of Company B. Immediately after this conversation, and armed with

material nonpublic information, defendant began buying Company B’s stock. The

impetus for defendant’s purchase of Company B’s stock was her husband’s divulging

material nonpublic information to her. Over the course of approximately one month

between August 2019 and September 2019, and unbeknownst to her husband,

defendant purchased 30,800 shares of Company B’s stock in 145 separate

transactions for approximately $280,787 in five separate accounts. On September 16,

2019, after the acquisition had been announced, Company B’s stock rose 180% from

approximately $8-10 a share to around $18 a share. Defendant then sold all of

Company B’s stock that she spent a month amassing and made approximately

$286,960.

      On August 18, 2021, defendant was charged in a one-count information with

securities fraud based on her use of material nonpublic information that she learned

in confidence from her husband to purchase Company B’s stock in August and

September 2019.     On October 21, 2021, defendant pled guilty to the one-count

information.



                                         2
    Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 3 of 19 PageID #:171




                              The Advisory Guidelines Range

         The government has no objections to the Presentence Investigation Report’s

(“PSR”) calculation of the advisory guidelines range. The PSR correctly calculated

defendant’s guidelines range to be 24 to 30 months’ imprisonment based on an

adjusted offense level of 17 combined with criminal history category I as detailed

below:

Base Offense Level (§2B1.4(a))                                                                  8

Increase Based on Gain Between $250,000 and $550,000 (§2B1.1(b)(1)(C))                          12

Acceptance of Responsibility (§3E1.1)                                                            -3

Total                                                                                           17

                      The Factors Set Forth in 18 U.S.C. § 3553(a)

         Section 3553(a) requires the Court to impose a sentence that is “sufficient, but

not greater than necessary,” to comply with the purposes of sentencing.1 In order to

determine the sentence to impose, the Court must consider the statutory factors listed

in § 3553(a)(1)-(7). One of those factors is the advisory range set by the Sentencing

Guidelines, and another is the Sentencing Commission’s policy statements. Although

the Sentencing Guidelines are advisory only, “[a]s a matter of administration and to

secure nationwide consistency, the Guidelines should be the starting point and the

initial benchmark.” Gall v. United States, 552 U.S. 38, 49 (2007).




1 Those purposes are the need for the sentence “(A) to reflect the seriousness of the offense, to promote
respect for the law, and to provide just punishment for the offense; (B) to afford adequate deterrence
to criminal conduct; (C) to protect the public from further crimes of the defendant; and (D) to provide
the defendant with needed educational or vocational training, medical care, or other correctional
treatment in the most effective manner.” 18 U.S.C. § 3553(a)(2).
                                                   3
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 4 of 19 PageID #:172




      For the reasons set forth below, consideration of the § 3553(a) factors reflect

that a custodial sentence of one year and one day of imprisonment is warranted and

necessary. A non-custodial sentence would send the wrong message: that insider

trading is a victimless crime that does not carry with it meaningful punishment.

Insider trading violates the integrity of the stock market. It leads to widespread

public cynicism that the markets are rigged in favor of those in the know. Insider

trading must be met with a serious repercussion—which in this case should be a

custodial sentence of a year and a day.

                   The Nature and Circumstances of the Offense

      Company A had a written policy expressly forbidding its employees from using

material nonpublic information learned in the course of the employee’s job duties,

and stating that such activity could constitute a criminal offense. As a spouse,

defendant owed a duty of confidentiality to her husband, and in turn to Company A,

which also precluded defendant from using material nonpublic information about

Company A that defendant learned from her husband. As a result, defendant could

not use or share any confidential information that she obtained or learned from her

husband that had been entrusted to him through his employment with Company A.

      In July 2019, defendant’s husband was selected to work on a due diligence

team in connection with his employment at Company A. One month later, on August

19, 2019, defendant’s husband learned that the due diligence project concerned an

upcoming acquisition by Company A of Company B, a pharmaceutical company

headquartered in the state of Washington whose stock traded on the NASDAQ stock



                                          4
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 5 of 19 PageID #:173




exchange. Company A prohibited employees working on the due diligence project,

including defendant’s husband, from disclosing information about the acquisition and

from making trades in either Company A or Company B’s stock and included the

warning below in a PowerPoint presentation:




      On or about August 19, 2019, defendant’s husband called her at approximately

11:55 a.m. and they spoke for 16 and a half minutes. During that telephone

conversation, defendant’s husband told defendant that he was going to be busy at work

for the foreseeable future given his work on the due diligence project. He also told

defendant the name of the acquisition target—Company B. Given the nature of this

conversation, defendant knew that her husband expected that she would maintain the

confidentiality of this information and would not use or share it. Indeed, according to

her brokerage records, defendant had never purchased Company A’s stock before,

even though she was an active day trader; in other words, defendant knew it was

wrong to trade in Company A’s stock given her husband’s employment there, and


                                          5
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 6 of 19 PageID #:174




likewise knew it was wrong to trade based on material nonpublic information that

her husband told her.

      Because Company A’s acquisition of Company B was material nonpublic

information, and given the fact that defendant learned of this information in

confidence from her husband, defendant was prohibited from using the information

to trade in Company B’s stock. Nevertheless, on August 19, 2019—after receiving

information from her husband about Company B—defendant purchased 1,100 shares

of Company B’s stock. Over the next month, between August 19, 2019,and September

13, 2019, defendant used five separate brokerage accounts, two of which were her

family members’ accounts over which she had control, to purchase 30,800 shares of

Company B’s stock in 145 separate transactions for between $8 and $10 a share. In

total, during that time period, defendant purchased approximately $280,787 worth of

Company B’s stock.

      Defendant’s sudden interest in Company B was no coincidence. Prior to

receiving the August 19, 2019, phone call from her husband, defendant had not

purchased Company B’s stock in several years. The only reason that defendant

purchased Company B’s stock was because of the information that she received from

her husband. The accounts that defendant used to purchase Company B’s stock was

also telling. She purchased the stock in accounts that she controlled, but did not use

the joint brokerage account that she shared with her husband. This was also not a

momentary lapse in judgment: defendant deliberately accumulated Company B’s

stock between August 19, 2019 and September 13, 2019 and hid the fact that she did


                                          6
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 7 of 19 PageID #:175




so from her husband.

      On the morning of September 16, 2019, Company A publicly announced its

acquisition of Company B for a price of up to $20 per share. This announcement

caused Company B’s stock to increase from approximately $8-10 a share to

approximately $18 a share. At approximately 8:02 a.m. on September 16, 2019,

defendant’s husband called defendant and they had a telephone conversation that

lasted eight minutes and 55 seconds. In that conversation, defendant’s husband told

her about the acquisition announcement. In turn, defendant for the first time told

her husband that she had purchased Company B’s stock over the prior month and

learned that her husband was not allowed to trade Company B stock because of the

material nonpublic information that he possessed.

      On September 16, 2019, and September 20, 2019, after the acquisition

announcement, defendant sold all of the shares of Company B’s stock that she had

purchased between August 19, 2019, and September 13, 2019. In total, defendant

made $286,960 from selling Company B’s stock after the acquisition announcement.

After being told by her husband that it was wrong to have purchased Company B’s

stock, defendant nonetheless purchased an additional 500 shares of Company B’s

stock on September 20, 2019, and sold that stock on September 24, 2019, and

September 30, 2019, making approximately $15 total on the trades.

      Additionally, on January 17, 2020, the Financial Industry Regulatory

Authority (“FINRA”) sent an identification letter to Company A that listed all of the

individuals who purchased Company B’s stock prior to the September 16, 2019,


                                         7
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 8 of 19 PageID #:176




acquisition announcement in an attempt to determine whether anyone with material

nonpublic information traded before the acquisition announcement. Defendant and

certain of her family members were on this list. Company A distributed this list to

its employees, including to defendant’s husband, and requested that employees who

received the list to respond by identifying any individuals on the list whom they knew.

Instead of responding to this letter, defendant’s husband resigned from Company A

on February 10, 2020. On February 14, 2020, Company A responded to FINRA’s

inquiry but did not provide a response from defendant’s husband as a result of his

resignation.

      While defendant ultimately admitted her conduct to the government, she only

did so after the government learned about the trades at issue by reviewing financial

records. This is not a case where defendant came forward and admitted her conduct

prior to the government becoming aware of any wrongdoing; rather, through its own

investigation, the government uncovered defendant’s wrongdoing.

                              Defendant’s Arguments
               Regarding the Nature and Circumstances of the Offense

      In defendant’s sentencing memorandum when discussing the nature and

circumstances of the offense, she made several unavailing arguments concerning the

trades at issue: (1) defendant had been monitoring Company B’s stock prior to

purchasing it in August and September 2019 and had purchased it years earlier; (2)

defendant did not expect to receive material nonpublic information from her husband;

(3) defendant typically used several accounts to trade in stocks on a daily basis; (4)

defendant’s August and September 2019 purchases of Company B’s stock amounted

                                          8
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 9 of 19 PageID #:177




to only roughly 10% of her portfolio; and (5) defendant—a “self-taught stock trader”

who regularly purchased stock online with various brokerage accounts—cannot recall

why she bought additional Company B stock on September 20, 2019, and September

24, 2019, after her husband told it was wrong to have bought the stock in the first

place and after making approximately $286,960 on the trades.       Def. Sentencing

Memo., at 4-9.

      First, while defendant may have been monitoring Company B’s stock prior to

purchasing it, the only reason she purchased the stock in August and September 2019

was because she received material nonpublic information that Company A was

acquiring Company B from her husband.         Defendant only decided to purchase

Company B’s stock after receiving this information.

      Second, even though defendant did not expect to receive material nonpublic

information from her husband regarding Company B, she did. And, as soon as she

did, defendant began buying its stock. As she admitted in the plea agreement,

defendant knew that trading on material nonpublic information that she received in

confidence from her husband was wrong:

      During [the August 19, 2019 telephone conversation, defendant’s
      husband] told defendant the name of the acquisition target—Company
      B. Given the nature of this conversation, defendant knew that [her
      husband] expected that she would maintain the confidentiality of this
      information and would not use or share it. Because the acquisition of
      Company B by Company A was material nonpublic information, and
      given the fact that defendant learned of this information in confidence
      from [her husband], defendant was prohibited from using the
      information to trade in Company B’s stock . . . In sum, defendant
      misappropriated for her own benefit material nonpublic information she
      obtained from [her husband] about Company A’s acquisition of Company



                                         9
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 10 of 19 PageID #:178




      B, in breach of the duties of trust and confidence that defendant owed
      [to her husband].

Plea Agreement, Dkt. 20, at 4-5.

      Third, defendant’s purchase of Company B’s stock in August and September

2019 was deliberate and continuous. She made approximately 145 purchases of

Company B’s stock and purchased over 30,800 shares using five separate brokerage

accounts. Notably, defendant did not use the joint brokerage account that she shared

with her husband—the reasonable inference is that she used these other brokerage

accounts to hide these trades from her husband. Indeed, according to an account

statement for that joint account, that joint account was used to purchase stock in

different companies—not Company A or Company B—on 153 separate occasions

between August 16, 2019 and September 13, 2019.

      Fourth, that defendant’s Company B trades represented only 10% of her

portfolio makes this crime even more egregious: defendant did not need to rely on

material nonpublic information to make money. This crime was driven by greed—

and this is an aggravating fact that militates in favor of a custodial sentence.

      Fifth, after defendant’s husband became upset with her on September 16,

2019, when learning that she had been accumulating Company B’s stock, she decided

to buy more stock in Company B. In particular, she bought 500 shares of Company

B stock the same day she unloaded the rest of the stock prior to the acquisition

announcement. She then sold those additional shares on September 24, 2019, and

September 30, 2019. Defendant claims ignorance about the additional 500 shares of

purchasing Company B stock. While defendant suggests that she cannot recall why

                                          10
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 11 of 19 PageID #:179




she purchased additional Company B stock after being told it was wrong to have done

so, the more plausible reason for defendant’s subsequent purchase of Company B

stock was cover: defendant may have believed that it would appear less suspicious to

outsiders if she purchased Company B stock before and after the acquisition

announcement.

      In sum, defendant knew that purchasing Company B’s stock while in

possession of material nonpublic information was wrong, and she did it anyway to

make money that she did not need. Contrary to defendant’s claim of atypicality, her

scheme represents the typical insider trading fact pattern: she traded on the basis of

material nonpublic information and tried to hide the fact that she had done so. The

nature of the circumstances of this offense are serious and warrant a custodial

sentence.

                     History and Characteristics of Defendant

      Defendant is sixty years old and has no criminal record. She also repaid the

forfeiture amount prior to sentencing. These factors are mitigating, and the Court

should consider them in fashioning a sentence. But, they do not excuse defendant’s

conduct. The government took these factors into account when recommending a

below guidelines sentence of one year and one day imprisonment.           Still, these

factors—in and of themselves—do not militate against a custodial sentence.

Defendants from all walks of life with similar mitigating personal circumstances in

the federal criminal justice system are sentenced to terms of imprisonment.

Defendant also raises certain medical issues (Def. Sent. Memo., at 9-10), but the



                                         11
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 12 of 19 PageID #:180




Bureau of Prisons is equipped to deal with medical ailments that defendant may

have. Sentencing defendant to a non-custodial sentence simply because of these

factors would create sentencing disparities in the insider trading context (as detailed

below) and across the gambit of federal criminal sentences, as defendants who commit

crimes later in life are still sentenced to terms of imprisonment.

                   The Need to Promote Respect for the Law,
             Provide Just Punishment, and Afford Adequate Deterrence

      The government’s recommended sentence would promote respect for the law,

provide just punishment, and afford adequate deterrence. By contrast, a non-

custodial sentence, as defendant requests, would send the wrong message: that those

who engage in insider trading simply get a slap on the wrist. Insider trading is

rampant, extremely difficult to uncover, and adversely affects the integrity of the

financial markets and the public perception of the markets. Defendant was only able

to commit this crime because she had an unfair advantage: her husband was an

insider who gave her material nonpublic information. A custodial sentence here

would promote respect for the law by showing that those who take advantage of their

access to confidential inside information to personally profit are not above the law.

      Moreover, insider trading offenses are unique in that the victim of the offense

is the market itself.    When individuals—like defendant—trade with material,

nonpublic information, they operate at an unfair advantage over the rest of the

trading public.   The offense is a fraud on the market because offenders—like

defendant—know information that the public lacks that also moves the price of the

stock, as the acquisition announcement here did. When those with confidential

                                          12
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 13 of 19 PageID #:181




information trade with the information, they profit at the expense of the trading

public. These types of offenses also denigrate the public’s confidence in the integrity

of the market and lead to widespread cynicism that the markets are rigged in favor

of a fortunate few. Although the market itself may be a nameless and faceless victim,

it is very much a real victim. This case can send an important message that insider

trading is a serious offense that will be met with equally serious consequences.

      In addition, intertwined with promoting respect for the rule of law—and

equally important—is the concept of general deterrence. The crime of insider trading

is a sophisticated financial crime that can be deterred with a sentence of

imprisonment. See, e.g., United States v. Brown, 880 F.3d 399, 405 (7th Cir. 2018)

(stating that “white-collar criminals . . . are . . . prime candidates for general

deterrence”); United States v. Heffernan, 43 F.3d 1144, 1149 (7th Cir. 1994)

(“[C]onsiderations of (general) deterrence argue for punishing more heavily those

offenses that either are lucrative or are difficult to detect and punish, since both

attributes go to increase the expected benefits of a crime and hence the punishment

required to deter it.”); see also United States v. Howard, --- F. 4th ----, 2022 WL

663328, at *21 (11th Cir. Mar. 7, 2022) (“General deterrence is more apt, not less apt,

in white collar crime cases . . . White collar criminal often calculate the financial gain

and risk of loss of their crimes, and an overly lenient sentence sends the message that

would-be white-collar criminal stand to lose little more than a portion of their ill-

gotten gains and practically none of their liberty.” (internal quotation marks

omitted)); United States v. Musgrave, 761 F.3d 602, 609 (6th Cir. 2014) (“Because


                                           13
    Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 14 of 19 PageID #:182




economic and fraud-based crimes are more rational, cool, and calculated than sudden

crimes of passion or opportunity, these crimes are prime candidates for general

deterrence.” (internal quotation marks omitted)); United States v. Politano, 522 F.3d

69, 73-75 (1st Cir. 2008) (affirming sentence predicated on the need for general

deterrence; “[g]eneral deterrence is about preventing criminal behavior by the

population at large and, therefore, incorporates some consideration of persons beyond

the defendant.”); United States v. Mueffelman, 470 F.3d 33, 40 (1st Cir. 2006) (stating

the importance of “the deterrence of white-collar crime (of central concern to

Congress), the minimization of discrepancies between white-and blue-collar offenses,

and limits on the ability of those with money or earning potential to buy their way

out of jail.”).

        Courts across the country have commented on the deterrent effect of a

custodial sentence in insider trading cases.2 Those in similar positions as defendant

take notice of custodial sentences in these types of cases. See United States v. Gupta,

904 F. Supp. 2d 349, 355 (S.D.N.Y. 2012) (“As this Court has repeatedly noted in other

cases, insider trading is an easy crime to commit but a difficult crime to catch. Others

similarly situated to the defendant must therefore be made to understand that when

you get caught, you will go to jail.”) aff’d, 747 F.3d 111 (2d Cir. 2014); United States

v. Goffer, 721 F.3d 113, 132 (2d Cir. 2013) (“The district court’s assertion

that insider trading requires           high      sentences        to     alter     that      calculus



2Contrary to defendant’s assertion (Def. Sent. Memo., at 14), this case has received local and national
press coverage, and if history is any indication, the sentencing in this case—as in other insider trading
cases—will be reported.
                                                  14
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 15 of 19 PageID #:183




[that insider trading is a “game worth playing”] is a Congressionally-approved

example of giving meaning to the 18 U.S.C. § 3553(a) factors.”); United States v.

Kluger, 722 F.3d 549, 561 (3d Cir. 2013) (noting that a sentence in

an insider trading case was “likely to come to the attention of would-be insider

traders”); accord Harmelin v. Michigan, 501 U.S. 957, 989 (1991) (“[S]ince deterrent

effect depends not only upon the amount of the penalty but upon its certainty, crimes

that are less gave but significantly more difficult to detect may warrant substantially

higher penalties.”).

      Finally, specific deterrence also weighs in favor of a guidelines sentence. It is

unlikely that defendant will commit this crime again in the future. Nonetheless, a

guidelines sentence still can serve an important message to defendant that actions

have consequences, and that a lifetime of good deeds do not excuse criminal conduct.

              The Need to Avoid Unwarranted Sentencing Disparities

      The need to avoid unwarranted sentence disparities and the considerations

of 18 U.S.C. § 3553(a)(6) also weigh in favor of the government’s recommended

sentence. Indeed, sentences in insider trading cases in this Court demonstrate the

efforts of judges to achieve the goals of general deterrence by imposing custodial

sentences:

Defendant                 Case Number          Gain               Sentence

Thomas Flanagan           12 CR 510            $478,000           21 months

Steven Dombrowski         14 CR 41             $286,211           One year and a day

Jason Napodano            17 CR 633            $143,000           4 months


                                          15
    Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 16 of 19 PageID #:184




Bilal Basrai3                 17 CR 634              $37,157                2 years’ probation

Matthew Brunstrum             18 CR 446              $158,707               8 months

        Defendant also detailed other insider trading cases in this district. Def. Sent.

Memo., at 13. Notably, all of those defendants received custodial sentences. And,

importantly, by correctly calculating and carefully reviewing the guidelines range, a

court necessarily gives weight and consideration to the need to avoid unwarranted

disparities. In other words, a sentence within the guidelines range necessarily

complies with Section 3553(a)(6). See United States v. Reyes-Medina, 683 F.3d 837,

841 (7th Cir. 2012).

        Last, defendant cites to an out of district insider trading case from the Eastern

District of Pennsylvania, where a former NFL player received a probationary

sentence in a case with profits of approximately $1.2 million—but that case is not

comparable to this one because that defendant was a cooperator who received a §

5K1.1 sentencing reduction. See Def. Sent. Memo., at 13-14; United States v. Mychal

Kendricks, No. 2:18-cr-368 (E.D. Pa.). In the Kendricks case, the defendant’s

roommate traded using his account with material nonpublic information.                        The

defendant in the Kendricks case immediately cooperated with the government in

bringing a separate prosecution against the roommate and also testified as a witness

for the government at trial. See United States v. Mark Ramsey, No. 2:19-cr-268 (E.D.

Pa.).   As a result, the government filed a motion pursuant to § 5K1.1 for the



3This defendant received a non-custodial sentence because he cooperated by assisting the government
in another matter. At sentencing, Judge Durkin stated that absent that cooperation, the court would
have sentenced this defendant to a custodial term of imprisonment.
                                                16
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 17 of 19 PageID #:185




defendant, which lowered the defendant’s guidelines range from 30 to 37 months’

imprisonment to 12 to 18 months’ imprisonment. See United States v. Kendricks, No.

2:18-cr-368, Dkt. No. 82, at 63, 72 (E.D. Pa. July 22, 2021). In sum, the defendant in

the Kendricks case received a sentencing break because he was a cooperator.

                                 Supervised Release

      Consistent with the Seventh Circuit’s guidance in United States v. Thompson,

777 F.3d 368 (7th Cir. 2015), the government recommends the imposition of a term

of supervised release of three years. In order to promote the sentencing objectives of

deterring   recidivism,   protecting   the    public,   and   assisting   in   defendant’s

rehabilitation and reintegration into society, the government supports that the

Probation Department’s recommendation of conditions as detailed in the PSR,

although the government’s position is that these conditions should be part of a term

of supervised release—not a probationary sentence.




                                             17
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 18 of 19 PageID #:186




                                  CONCLUSION

      For the reasons set forth above, the government respectfully requests that the

Court impose a sentence of imprisonment of one year and one day. Such a sentence

is well supported under Section 3553(a), as it will reflect the seriousness of the

offense, promote respect for the law, provide just punishment for the offense, afford

adequate deterrence to criminal conduct, properly account for defendant’s history and

characteristics, and provide a fair and uniform sentence.



Dated: March 23, 2022                  Respectfully submitted,

                                       JOHN R. LAUSCH, JR.
                                       United States Attorney

                                By:    /s/ Jared Hasten
                                       JARED HASTEN
                                       JASON YONAN
                                       Assistant United States Attorneys
                                       219 S. Dearborn Street, 5th Floor
                                       Chicago, Illinois 60604
                                       (312) 353-5300




                                         18
   Case: 1:21-cr-00512 Document #: 30 Filed: 03/23/22 Page 19 of 19 PageID #:187




                          CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that the foregoing was served on
March 23, 2022 in accordance with Fed. R. Crim. P. 49, Fed. R. Civ. P. 5, L.R. 5.5 and
the General Order on Electronic Case Filing (ECF) pursuant to the district court’s
system as the ECF filers.



                                               /s/ Jared Hasten




                                         19
